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10                             UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 18-11-AB

13             Plaintiff,                     GOVERNMENT’S REPLY RE. EX PARTE
                                              APPLICATION FOR JUDICIAL FINDING
14                    v.                      THAT DEFENDANT BREACHED HIS PLEA
                                              AGREEMENT
15   JEFFREY YOHAI,
                                              Current Hearing:     May 17, 2019
16             Defendant.                                          1:30pm

17

18                         MEMORANDUM OF POINTS AND AUTHORITIES
19        On April 2, 2019, the government filed an ex parte application
20   for a judicial finding that defendant had breached his plea
21   agreement.   (Doc. 53.)      The application included an 11-page brief
22   that enumerated the breaches, and was supported by 15 pages of
23   exhibits demonstrating them, as well as a 41-page affidavit that
24   demonstrated many of those breaches in evidentiary detail.            (CR 18-
25   834-AB, doc. 1.)       On April 15, 2019, the government also filed an
26   under seal supplement on the breach motion that included another
27   affidavit and 94 more pages of exhibits to support the government’s
28   factual assertions.
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 1        Defendant, however, could not be bothered to take a position on

 2   a single fact, let alone on whether a breach had occurred on any of

 3   the enumerated grounds.      Instead, in a 21-line brief that contains
 4   nothing that is specific to this case, he “disputes the government’s

 5   factual assertions” without further identifying them, and requests

 6   “an evidentiary hearing” on the facts he refused to address. (Doc.

 7   59, page 2.)

 8        Defendant relies on United States v. Packwood, 848 F.2d 1009 (9th

 9   Cir. 1998) for his claim that in “cases involving disputed issues of

10   fact, the Court should hold an evidentiary hearing to determine

11   whether there has been a breach.”       (Doc. 53 page 2).      In Packwood,

12   the Ninth Circuit actually affirmed the district court’s decision not

13   to hold an evidentiary hearing, and reaffirmed the general rule that

14   whether or not to hold an evidentiary hearing is a decision committed

15   to the sound discretion of the district court.          Id. at 1010

16   (reviewing denial of evidentiary hearing for abuse of discretion).

17   As the Packwood court stated:

18        General   or conclusory factual allegations are not enough to
          require   a hearing, but where sworn statements and exhibits
19        present   directly contradictory accounts of events, a
          hearing   is required.
20
     Id. (citations and quotations omitted).         Yet defendant has offered
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     even less than the “conclusory factual allegations” Packwood found
22
     insufficient to warrant an evidentiary hearing.          Defendant has merely
23
     claimed that he “disputes” the government’s allegations.
24
          A.    Defendant failed to comply with the local rules in
25              requesting an evidentiary hearing without identifying
                disputed facts and submitting a declaration with exhibits
26
          The Local Civil Rules apply to criminal cases.           Local Civil Rule
27
     1-4(a) (“as used in these Local [Civil] Rules:          (a) ‘Court’ includes
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 1   the judge . . . to whom a civil or criminal action . . . has been

 2   assigned.”) (emphasis added); Local Criminal Rule 57-1

 3   (“Applicability of Local Civil Rules.         When applicable directly or by

 4   analogy, the Local [Civil] Rules of the Central District of

 5   California shall govern the conduct of criminal proceedings before

 6   the District Court, unless otherwise specified.”).

 7        The Local Rules establish a preference for resolving factual

 8   contentions on the written record alone, without an evidentiary

 9   hearing.   L.R. 7-6 (“Factual contentions involved in any motion and

10   opposition to motions shall be presented, heard, and determined upon

11   declarations and other written evidence (including documents,

12   photographs, deposition excerpts, etc.) alone, except that the Court

13   may, in its discretion, require or allow oral examination of any

14   declarant or any other witness.”).          Accordingly, defendant’s

15   opposition to the government’s breach motion had to include the

16   evidence upon which defendant would rely at the hearing.            L.R. 7-9

17   (“Each opposing party shall . . . file with the Clerk either (a) the

18   evidence upon which the opposing party will rely in opposition to the

19   motion and a brief but complete memorandum which shall contain a

20   statement of all the reasons in opposition thereto and the points and

21   authorities upon which the opposing party will rely, or (b) a written

22   statement that that party will not oppose the motion.”).

23        Defendant’s flouting the Local Rules and ignoring his obligation

24   to file a “complete memorandum” including the “evidence” on which he

25   will rely hardly obligates the Court to hold an evidentiary hearing,

26   as defendant contends.     The rationale behind the Local Rules is to

27   require the parties to put forth their positions and evidence so that

28   the Court can see what is genuinely in dispute, versus what has

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 1   already been established in the record.         If defendant were to submit

 2   a sworn declaration that directly contradicted some of the breach

 3   allegations the government raises, then the Court could elect to have

 4   an evidentiary hearing on the disputed facts identified in the

 5   record, or might decide instead to rule that defendant had breached

 6   his plea agreement based on other, undisputed allegations.            But

 7   defendant cannot violate the Local Rules and thereby force the Court

 8   to slog through an evidentiary hearing on all of the alleged

 9   breaches, as he desires.      As the Ninth Circuit explained in the

10   sentencing context, a “defendant cannot have it both ways: He or she

11   cannot say that there are mistakes and then stand mute without

12   showing why they are mistakes.”       United States v. Roberson, 896 F.2d

13   388, 391 (9th Cir. 1990) (rejecting defendant’s claim that the

14   district court failed to resolve disputed facts when defendant

15   “failed to proffer or to present . . . a factual scenario at odds

16   with that set forth in the pre-sentence report”).          Indeed, to hold

17   such an evidentiary hearing now would reward defendant for violating

18   the Local Rules by giving him an opportunity to cross-examine the

19   case agent on the new crimes alleged in CR 18-834-AB, which are the

20   basis for many of the alleged breaches.

21                                     Conclusion
22        Defendant had an opportunity and the obligation to set forth any

23   evidence that he contends undercuts the government’s breach of plea

24   allegations.    Having failed to submit any, the Court is free to, and

25   should, rule on the breach motion based on the declarations and

26   exhibits provided by the government.

27        In the alternative, the Court could allow defendant additional

28   time to submit any declarations and exhibits that he wants the Court

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 1   to consider before it rules on the record before it, as required by

 2   the Local Rules.    If the Court, after receiving defendant’s new

 3   factual submissions, decides an evidentiary hearing is necessary, the

 4   government asks that it be held before May 9, or after June 3, 2019,

 5   because the case agent and declarant has surgery scheduled for May 9

 6   and will have difficulty moving for the following weeks.

 7   Dated: April 18, 2019                Respectfully submitted,

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